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 Attorneys for Creditor Waste
 Management of New Jersey, Inc.

                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
                              (CAMDEN VICINAGE)
 ____________________________________
                                      :  (Hon. Gloria M. Burns)
 In re:                               :
 SHAPES/ARCH HOLDINGS, L.L.C.,        :  Chapter 11
 et al,                               :
                   Debtors.           :  Lead Case No.: 08-14631 (GMB)
                                      :  (Jointly Administered)
                                      :
 ____________________________________:

           ENTRY OF APPEARANCE AND DEMAND FOR SERVICE OF
    PAPERS PURSUANT TO SECTION 1109(b) OF THE BANKRUPTCY CODE AND
                    BANKRUPTCY RULES 9010 AND 2002

 TO THE PERSONS ON THE ANNEXED SERVICE LIST:

        NOTICE IS HEREBY GIVEN pursuant to section 1009(b) of Title 11 of the United

 States Code and rules 90101 and 2002 of the Federal Rules of Bankruptcy Procedure (the

 "Bankruptcy Rules") that Buchanan Ingersoll & Rooney PC hereby appears for Waste

 Management of New Jersey, Inc. in the above-captioned case.

        NOTICE IS FURTHER GIVEN that Buchanan Ingersoll & Rooney PC requests that all

 notices given or required to be given in the above-captioned case (including, but not limited to,

 all papers filed and served in adversary proceedings in this case, and all notices mailed only to

 the statutory committees or their authorized agents and to creditors and equity security holders
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 who file with the Court a request that all notices be mailed to them) be given to and served upon

 Buchanan Ingersoll & Rooney at the following address and telephone number:

                                 Buchanan Ingersoll & Rooney PC
                                  1835 Market Street, 14th Floor
                                     Philadelphia, PA 19103
                                     Attn: James J. O'Toole
                                      Tel.: (215) 665-8700
                                    Facsimile: (215) 665-8760
                                 E-mail: james.otoole@bipc.com

        NOTICE IS FURTHER GIVEN that the foregoing request includes not only notices and

 papers referred to in Bankruptcy Rule 2002 but also includes, without limitation, orders and

 notices of any application, motion, petition, pleading, request, complaint or demand, whether

 formal or informal, whether written or oral, and whether transmitted or conveyed by mail, hand

 delivery, telephone, telegraph, telex or otherwise, that affect the above-captioned debtors or the

 property of such debtors or the debtors' estates.

 Dated: July 1, 2008

                                               BUCHANAN INGERSOLL & ROONEY PC

                                               By:         /s/ Nola R. Bencze
                                                         Nola R. Bencze
                                                         James J. O'Toole
                                                         1835 Market Street, 14th Floor
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                                                         Tel.: (215) 665-8700
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                                                         Attorneys for Creditor Waste
                                                         Management of New Jersey, Inc.




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